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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Civil Action No. 09-cv-01169-BNB

  

FILE
SOLOMON BEN-TOV COHEN, Se UE STRICT coun:
Plaintiff, DEC 16 2g9¢
, GREGORY G. LANGHAM
— _GLERK

JOHN P. LONGSHORE, and
UNKNOWN MAIL CLERK, El Paso County Sheriff's Office,

Defendants.

 

ORDER OF DISMISSAL

 

Plaintiff Solomon Ben-Tov Cohen is an immigration detainee at a detention
facility in Aurora, Colorado. Mr. Cohen initiated this action by filing pro se two slightly
different versions of a Prisoner Complaint asserting claims that his rights under the
United States Constitution have been violated. On June 2, 2009, Magistrate Judge
Boyd N. Boland ordered Mr. Cohen to file an amended complaint, which he did on June
23, 2009. On June 25, 2009, Magistrate Judge Boland ordered Mr. Cohen to file a
second amended complaint to correct new deficiencies in the amended complaint. Mr.
Cohen was warned that the action would be dismissed without further notice if he failed
to file a second amended complaint within thirty days. On August 4, 2009, and again
on September 3, 2009, Magistrate Judge Boland entered minute orders granting Mr.
Cohen extensions of time to file his second amended complaint. Following the
September 3 minute order, Mr. Cohen’s deadline for filing a second amended complaint

was October 5, 2009.
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On October 6, 2009, Mr. Cohen filed a notice of change of address stating that
he had been moved from the El Paso County Jail to the Aurora detention facility. Mr.
Cohen also stated in the notice of change of address that he would be filing another
motion for extension of time. On October 28, 2009, Mr. Cohen finally filed a late motion
for another extension of time. On November 2, 2009, Magistrate Judge Boland entered
a minute order granting the October 28 motion and allowing Mr. Cohen until November
30 to file a second amended complaint as directed. Magistrate Judge Boland advised
Mr. Cohen in the November 2 minute order that no further extensions of time would be
granted.

Mr. Cohen did not file a second amended complaint within the time allowed.
However, on December 10, 2009, Mr. Cohen filed a Motion to File Amended Complaint
Late, a Motion for the Appointment of Counsel, and three different versions of an
Amended Prisoner Complaint. Mr. Cohen asserts the same two claims in each
Amended Prisoner Complaint filed on December 10, 2009, but the exhibits attached to
each Amended Prisoner Complaint filed on December 10 are not identical.

The Motion to File Amended Complaint Late filed on December 10, 2009, will be
denied because Mr. Cohen specifically was advised that no further extensions beyond
November 30 would be granted. The motion also will be denied because Mr. Cohen
failed to file a second amended complaint as directed. Instead, Mr. Cohen has filed
three different amended pleadings.

Finally, the motion to file a second amended complaint out of time will be denied
because the claims Mr. Cohen seeks to raise in the amended complaints filed on
December 10 lack merit. In his first claim, Mr. Cohen seeks damages for false

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imprisonment from June 1, 2008, through June 19, 2009. Mr. Cohen’s allegations in
support of his false imprisonment claim are difficult to understand. However, it is clear
that Mr. Cohen may not recover damages for false imprisonment until he successfully
invalidates that imprisonment, see Heck v. Humphrey, 512 U.S. 477 (1994), and he
fails to allege that he has invalidated the allegedly false imprisonment. The Court is
aware that Mr. Cohen has been advised of the rule in Heck in at least two prior actions.
See Cohen v. Pauley, No. 09-cv-01112-ZLW (D. Colo. Jun. 19, 2009); Cohen v.
Clemens, No. 08-cv-01991-ZLW (D. Colo. Oct. 1, 2008), aff'd, No. 08-1394 (10" Cir.
Apr. 7, 2009).

In his second claim, Mr. Cohen alleges that his right of access to the courts was
violated when an unidentified mail clerk refused to send legal mail to the court in
another case. The access to the courts claim lacks merit because Mr. Cohen fails to
allege any actual injury in connection with the preparation of an initial pleading raising a
nonfrivolous legal claim in a civil rights action regarding his current confinement or in an
application for a writ of habeas corpus. See Lewis v. Casey, 518 U.S. 343, 349-55
(1996). Accordingly, it is

ORDERED that the Motion to File Amended Complaint Late filed on December
10, 2009, is denied. It is

FURTHER ORDERED that the two Prisoner Complaints filed on May 22, 2009,
the Amended Prisoner Complaint filed on June 23, 2009, the three Amended Prisoner

Complaints filed on December 10, 2009, and the action are dismissed. Itis
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FURTHER ORDERED that the Motion for the Appointment of Counsel filed on

December 10, 2009, is denied as moot.

DATED at Denver, Colorado, this [baay of Ditenhee 2009.

BY THE COURT:

Ap cea Meee

LEESON WEINSHIENK, Senior Judge
ed States District Court
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

CERTIFICATE OF MAILING

Civil Action No. 09-cv-01169-BNB

Solomon B. Cohen

Alien No. 077309675
GEO/ICE Processing Center
11901 E. 30" Ave.

Aurora, CO 80010-1525

| hereby certify that | have mailed a copy of the ORDER AND JUDGMENT to the
above-named individuals on_\2/1é

GRE YG. LANGHAM, CLERK

By:

 

| Deputy Clerk
